Case 3:18-cr-00108-MCR   Document 206   Filed 12/11/19   Page 1 of 8
Case 3:18-cr-00108-MCR   Document 206   Filed 12/11/19   Page 2 of 8
Case 3:18-cr-00108-MCR   Document 206   Filed 12/11/19   Page 3 of 8
Case 3:18-cr-00108-MCR   Document 206   Filed 12/11/19   Page 4 of 8
Case 3:18-cr-00108-MCR   Document 206   Filed 12/11/19   Page 5 of 8
Case 3:18-cr-00108-MCR   Document 206   Filed 12/11/19   Page 6 of 8
Case 3:18-cr-00108-MCR   Document 206   Filed 12/11/19   Page 7 of 8
Case 3:18-cr-00108-MCR   Document 206   Filed 12/11/19   Page 8 of 8
